         Case 1:22-cv-00058-CRC Document 23 Filed 08/19/22 Page 1 of 27




                            UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA

_______________________________________
                                                     )
Amaplat Mauritius Ltd., et al,                       )
                                                     )
       Plaintiffs,                                   )
                                                     )
v.                                                   )   Civil Case No. 1:22-cv-00058-CRC
                                                     )
Zimbabwe Mining Development                          )
Corporation, et al,                                  )
                                                     )
      Defendants.                                    )
_____________________________________

                   MOTION TO DISMISS THE COMPLAINT BY
             THE CHIEF MINING COMMISIONER, MINISTRY OF MINES
               OF ZIMBABWE, AND THE REPUBLIC OF ZIMBABWE

       Defendants, the Chief Mining Commissioner, Ministry of Mines of Zimbabwe (the

“Commissioner”), and the Republic of Zimbabwe (“Zimbabwe”), by and through their

undersigned counsel, hereby submit their Motion to Dismiss (the “Motion”) the Complaint filed

by Amaplat Mauritius Ltd. (“Amaplat”) and Amari Nickel Holdings Zimbabwe Ltd. (“Amari”),

and in support thereof, state as follows:

                                            INTRODUCTION

       When Zimbabwe Mining Development Corporation (“ZMDC”) and Plaintiffs executed

two Memorandum of Understanding (the “MOUs”), they likely contemplated many things, such

as two mines, one platinum and the other nickel, or the resolution of their disputes according to

the International Chamber of Commerce (the “ICC”) Rules of Arbitration. ZMDC received

neither, but the Commissioner and Zimbabwe, who never signed the MOUs, certainly had no

reason to expect this case: a judgment enforcement proceeding in the United States eight years

after the arbitration concluded and more than two years after a Zambian court issued a conditional

                                                 1
           Case 1:22-cv-00058-CRC Document 23 Filed 08/19/22 Page 2 of 27




order to register an arbitration award. Plaintiffs should not be allowed to shield the courts from an

infirmed arbitration award through an ex parte order never served on the Commissioner and

Zimbabwe.

       This case should be dismissed with prejudice for the following reasons:

       •       The Commissioner, as a foreign official, has not waived, nor is there any basis to
               waive, his immunity from suit.

       •       The Commissioner and Zimbabwe never signed the agreement to arbitrate, and
               where Plaintiffs only rely on the MOUs and the Convention on the Recognition and
               Enforcement of Foreign Arbitral Awards (the “New York Convention”), neither of
               which contains a waiver of immunity, Plaintiffs cannot make out a case for an
               implied waiver of immunity.

       •       The Commissioner and Zimbabwe are immune from this Court’s jurisdiction
               because Plaintiffs claim not to be seeking to enforce an arbitration award.

       •       Plaintiffs have failed to plead any minimum contacts between the Commissioner
               and this District, and where Zimbabwe otherwise is immune, there is no personal
               jurisdiction over either Defendant. Plaintiffs have also not served the
               Commissioner.

       •       Plaintiffs have not stated a claim upon which relief can be granted because they
               invoke this Court's jurisdiction under the New York Convention, but they failed to
               comply with the three-year time bar that comes with the treaty.

       •       Plaintiffs have fallen far short of their obligation to plead facts showing that ZMDC
               or the Commissioner are an alter ego of Zimbabwe.

       •       As supported by the Expert Opinion of Mr. Likando Kalaluka, QC, the former
               Attorney General of Zambia, the Zambian court did not have jurisdiction over the
               Commissioner and Zimbabwe, and Plaintiffs never served either defendant or even
               applied for permission to do so.

       For these reasons and those set forth in greater detail below, Zimbabwe requests that this

Court grant the Motion.

                                    RELEVANT BACKGROUND

       Amaplat and Amari signed the MOUs with ZMDC in 2007 and 2008. See ECF No. 1-1 at

¶¶ 3-4. Neither Zimbabwe nor the Commissioner were parties to the MOUs. See id., ¶ 6.

                                                 2
         Case 1:22-cv-00058-CRC Document 23 Filed 08/19/22 Page 3 of 27




       In 2011, Plaintiffs initiated arbitration proceedings pursuant to the arbitration clauses in the

MOUs. See id., ¶ 8. Plaintiffs did not raise claims based on a mine they built or operated. Rather,

in the arbitration, Plaintiffs alleged that the breaches of the MOUs deprived them of future value

in the event that a mine was built.

       Despite not being a party to the MOUs, the Commissioner was named a respondent in the

arbitration proceedings. See id., ¶ 39. Plaintiffs amended their claim five times. See id., ¶¶ 21, 23,

26, 34, and 39. After those amendments, Plaintiffs did not allege that the Commissioner was

responsible for the breach of the MOUs or any of the damages. Plaintiffs did not argue that ZMDC

was an alter ego of the Commissioner, and there was no argument that either ZMDC or the

Commissioner was an alter ego of Zimbabwe. Notably, Zimbabwe was not a party to the

proceedings. See generally, ECF No. 1-1.

       The arbitration included a challenge to the Tribunal on day two of the hearing on the merits.

See id., ¶ 51. Applying Article 11 of the ICC Rules, the governing rules of the arbitration, the

Tribunal dismissed the challenge. Article 11 does not provide for the Tribunal to decide on a

challenge to itself. See Exhibit 1, ICC Rules, 1998. After the challenge was rejected by the

Tribunal, ZMDC and the Chief Mining Commissioner refused to participate. ECF No. 1-1 at ¶ 52.

The Tribunal then decided to remove as evidence the witness statements submitted by ZMDC and

the Chief Mining Commissioner. See id., ¶ 55.

       At the beginning of day three, or the day following the dismissed challenge, the arbitrator

appointed by ZMDC and the Commissioner, Mr. Mutizwa, tendered his resignation and left the

hearing. See id., ¶ 57. The remaining members of the Tribunal decided to continue in light of

Article 12(5). See id., ¶ 58. Similar to Article 11, Article 12(5) does not grant this power to the

Tribunal. See Exhibit 1, ICC Rules, 1998. Notably, Article 12(5) only applies after the closing of



                                                  3
         Case 1:22-cv-00058-CRC Document 23 Filed 08/19/22 Page 4 of 27




the proceedings. Ibid. There is no evidence that the proceedings were closed. The hearing on the

merits continued, concluding on August 20, 2012. ECF No. 1-1 at ¶ 61.

        Around five weeks later, on September 27, 2012, the ICC Court accepted the resignation

of Mr. Mutizwa and rejected the challenge to two of the members of the Tribunal: Judge Joffe and

Mr. Isaacs QC. See id., ¶ 65. The ICC Court invited ZMDC and the Commissioner to name a

replacement arbitrator. The request was not answered, and the ICC Court named a replacement.

See id., ¶66.

        On October 15, 2012, ZMDC and the Commissioner obtained an ex parte order from the

Zambian courts restraining Judge Joffe and Mr. Isaac QC from continuing. See id., ¶ 67. Plaintiffs

applied to vacate the order, but as of the date of the Award, there was no evidence that the order

had been vacated. See id., ¶74. Judge Joffe resigned (id. at ¶ 73), Plaintiffs appointed a new

arbitrator (id. at ¶ 75), and the reconstituted tribunal held a hearing to receive oral statements from

the parties.

        On January 12, 2014, an award was issued ordering ZMDC, but not the Commissioner, to

pay Plaintiffs damages and awarding costs and legal fees against both the Commissioner and

ZMDC (the “Award”). See id., ¶ 39. The Award also ordered only ZMDC to pay interest on the

amounts at the rate of 5% per annum. See ibid. The Award made no finding of joint and several

liability nor any finding that the parties are one and the same or that they acted as alter egos of

Zimbabwe or each other. See generally, ECF No. 1.

        Since the issuance of the Award in 2014 and until 2019, there appear to be no attempts by

Plaintiffs to have the Award recognized and enforced in any other jurisdiction besides Zambia.

        On July 19, 2019, Plaintiffs applied to register and enforce the Award ex parte, and the

Zambian Court issued an “ex parte Order for leave to Register and Enforce the Final Arbitration



                                                  4
           Case 1:22-cv-00058-CRC Document 23 Filed 08/19/22 Page 5 of 27




Award” against the Commissioner and ZMDC (the “Order”) on August 9, 2019. See ECF No. 1-

5. Defendants did not participate in these proceedings. The Order specifically limits the

enforcement of the Award on the occurrence of certain conditions, including “within 30 days after

service of this Order on [Defendants], the Defendant may apply to set aside this Order and the

award shall not be enforced until after the expiration of that period or if the Defendants apply

within that period to set aside, until the application is finally disposed of.” ECF No. 1-5, ¶ 2. This

same language is echoed in the Notice of Registration of Award issued on August 19, 2019. See

Exhibit 2, Notice of Registration of the Award, ¶ 4. While the Zambian Court proceeded to register

the Award, the enforcement of such Award was subject to the expiration of a 30-day period from

service. In order for that time period to transpire, ZMDC and the Commissioner would have had

to be served with the Judgment and Notice. Defendants were never served with the Notice of

Registration or the Judgment. See Expert Opinion of Likando Kalaluka, QC, pp. 6-7, a true and

correct copy attached as Exhibit 3.

       Since Defendants were not served with the Notice of Registration or the Order, they did

not have the opportunity to present any grounds against recognition or enforcement of the Award

or request the set aside of the Order within the 30-day period established by the Zambian Court.

See ECF No. 1-5 at ¶ 3. Zimbabwe is not listed as a party in the Zambian proceedings. See ECF

No. 1-5.

       Almost two and half years later, and eight years after the issuance of the Award, Plaintiffs

filed the instant action seeking to enforce the Order under the D.C. Foreign-Country Money

Judgments Recognition Act (the “D.C. Code”) against not only the ZMDC and the Commissioner,

but also against Zimbabwe as an alter ego of the other defendants. See ECF No. 1. Plaintiffs request

a judgment against all Defendants holding them jointly and severally liable for the costs and fees



                                                  5
         Case 1:22-cv-00058-CRC Document 23 Filed 08/19/22 Page 6 of 27




ordered in the Award, even though the Award is largely only against ZMDC. Similarly, Plaintiffs

request that post-award interest and post-judgment interest be awarded against all Defendants at

the Zambian statutory rate. See id., p. 10.

       In their Complaint, Plaintiffs routinely mention the New York Convention, citing it five

times, including as the basis for subject matter jurisdiction. See id., p.4.

       Since the issuance of the Award, there have been no enforcement proceedings whereby the

Award was subject to the scrutiny of Article 5 of the New York Convention or any other provision

of law applicable to arbitration awards.

                                              ARGUMENT

I.     Plaintiffs have failed to plead subject matter jurisdiction

       On a Fed. Civ. P. Rule 12(b)(1) motion to dismiss, the petitioner “bears the burden of

establishing [subject matter] jurisdiction by a preponderance of the evidence.” Dvorak v. U.S.

Dep't of Homeland Sec., No. 18-CV-1941 (DLF), 2019 WL 1491743, at *1 (D.D.C. Apr. 3, 2019)

(quoting Moran v. U.S. Capitol Police Bd., 820 F. Supp. 2d 48, 53 (D.D.C. 2011)) (internal

quotation marks omitted). Because a Rule 12(b)(1) motion challenges the court’s subject-matter

jurisdiction, the court “will subject a plaintiff’s complaint to ‘closer scrutiny’ than on a motion to

dismiss for failure to state a claim under Rule 12(b)(6).” Ware El v. Soc. Sec. Admin., No.

19CV01684TNMGMH, 2019 WL 5811299, at *2 (D.D.C. Nov. 7, 2019); An v. Mayorkas, No.

CV 21-385 (EGS), 2022 WL 522970, at *1 (D.D.C. Feb. 22, 2022) (same). Where the defendant

challenges the plaintiff’s “factual basis for jurisdiction the court may not deny the motion to

dismiss merely by assuming the truth of the facts alleged by the plaintiff and disputed by the

defendant,” the court must more. See Erby v. United States, 424 F. Supp. 2d 180, 183 (D.D.C.

2006) (internal quotation marks omitted). The court “must go beyond the pleadings and resolve



                                                   6
         Case 1:22-cv-00058-CRC Document 23 Filed 08/19/22 Page 7 of 27




any disputed issues of fact the resolution of which is necessary to a ruling upon the motion to

dismiss.” Ibid.

       The Foreign Sovereign Immunities Act (“FSIA”) provides the only basis for assuming

jurisdiction over foreign states, including their instrumentalities. See Argentine Republic v.

Amerada Hess Shipping Corp., 488 U.S. 428, 443 (1989). Under the FSIA, foreign states are

presumed to be immune from suit unless the plaintiff proves that one of the enumerated exceptions

in the statue applies. See 28 U.S.C.A. § 1604; see also Bell Helicopter Textron, Inc. v. Islamic

Republic of Iran, 734 F.3d 1175, 1183 (D.C. Cir. 2013) (“FSIA begins with a presumption of

immunity, which the plaintiff bears the initial burden to overcome by producing evidence that an

exception applies.”).

       The “basic objective of foreign sovereign immunity is to free a foreign sovereign from

suit.” Process & Indus. Devs. Ltd. v. Fed. Republic of Nigeria, 962 F.3d 576, 584 (D.C. Cir. 2020)

(citing Bolivarian Republic of Venezuela v. Helmerich & Payne Int'l Drilling Co., 137 S.Ct. 1312,

1317 (2017)) (internal quotation marks omitted). Courts must therefore decide on issues of

immunity “as near to the outset of the case as is reasonably possible” and “before the sovereign is

required to defend on the merits.” Ibid.; see also Verlinden B.V. v. Cent. Bank of Nigeria, 461 U.S.

480, 494 (1983) (holding that questions regarding immunity must be decided “[a]t the threshold

of every action.”); Denegri v. Republic of Chile, No. CIV. A. 86-3085, 1992 WL 91914, at *2

(D.D.C. Apr. 6, 1992) (same); Phoenix Consulting Inc. v. Republic of Angola, 216 F.3d 36, 39

(D.C. Cir. 2000) (“to preserve the full scope of that immunity, the district court must make the

critical preliminary determination of its own jurisdiction as early in the litigation as possible; to

defer the question is to frustrate the significance and benefit of entitlement to immunity from suit.”)

(internal quotation marks omitted).



                                                  7
         Case 1:22-cv-00058-CRC Document 23 Filed 08/19/22 Page 8 of 27




       Invoking the immunity exceptions under 28 U.S.C. §§ 1605(a)(1) and 1605(a)(6) of the

FSIA, Plaintiffs argue that the Commissioner and Zimbabwe are subject to the jurisdiction of this

Court. See ECF No. 1, ¶¶ 4, 8. But for the reasons set forth below neither of the exceptions apply

in the present case.

       A.      This Court cannot assume subject matter jurisdiction over the Commissioner
               based on 28 U.S.C. § 1330(a)

       District courts have original jurisdiction over “any nonjury civil action against a foreign

state as defined in section 1603(a)...” 28 U.S.C. §1330(a). According to section 1603(a), a “foreign

state…includes a political subdivision of a foreign state or an agency or instrumentality of a foreign

state.” Section 1603 further defines “agency or instrumentality of a foreign state” as “any entity

(1) which is a separate legal person, corporate or otherwise, and (2) which is an organ of a foreign

state or political subdivision thereof, or a majority of whose shares or other ownership interest is

owned by a foreign state or political subdivision thereof, and (3) which is neither a citizen of a

State of the United States as defined in section 1332(c) and (e) of this title, nor created under the

laws of any third country.” 28 U.S.C.A. § 1603(b) (emphasis added).

       Plaintiffs argue that the Commissioner qualifies as a foreign state because “it is an agency,

instrumentality of, and alter ego of…Zimbabwe.” See ECF No. 1, ¶ 6. The argument ignores the

clear wording of section 1603. As noted by the Supreme Court and applied by this Court, “there is

nothing [in the FSIA] to suggest that ‘foreign state’ should be read to include an official acting on

behalf of that state.” Samantar v. Yousuf, 560 U.S. 305 (2010); Odhiambo v. Republic of Kenya,

930 F. Supp. 2d 17, 34 (D.D.C. 2013), aff'd, 764 F.3d 31 (D.C. Cir. 2014). Section 1603(a) only

refers to entities which “typically refers to an organization, rather than an individual.” See id., at

315; see also id., at 316 (citing Dole Food Co. v. Patrickson, 538 U.S. 468, 474) (2003) (“1603(a)

indicates that “Congress had corporate formalities in mind.”).

                                                  8
         Case 1:22-cv-00058-CRC Document 23 Filed 08/19/22 Page 9 of 27




       There is one possible scenario where a suit against a foreign official can fall under the

FSIA. According to the Supreme Court, “some actions against an official in his official capacity”

can be “treated as actions against the foreign state” if “the state is the real party in interest.”

Samantar 560 U.S. at 325. But this is not the case here. Plaintiffs’ actions are based on their

contracts with ZMDC and alleged appearance of the Commissioner in the arbitration. Zimbabwe

was not a party to the arbitration or the MOUs, hence, it is not “the real party in interest.” See

Angellino v. Royal Fam. Al-Saud, 688 F.3d 771, 775, n.6 (D.C. Cir. 2012) (holding that Saudi

Arabia is not the “real party in interest” because Angellino’s breach of contract claim against the

defendants “does not allege an act of state”). Accordingly, this Court cannot assume subject matter

jurisdiction over the Commissioner based on 28 U.S.C. §1330(a).

       B.      This Court cannot assume subject matter jurisdiction under the waiver
               exception in 28 U.S.C. §1605(a)(1)
       Section 1605(a)(1) permits a suit against a foreign state where it “has waived its immunity

either explicitly or by implication.” An implied waiver exists where “there has been an intentional

and knowing relinquishment of the legal right” by the sovereign. Denegri v. Republic of Chile, No.

CIV. A. 86-3085, 1992 WL 91914, at *3 (D.D.C. Apr. 6, 1992) (citing Castro v. Saudi Arabia,

510 F.Supp. 309, 312 (W.D.Tex. 1980) (internal quotation marks omitted). Reading 1605(a)(1)

narrowly, “courts have been reluctant to recognize implied waivers” unless a foreign state: (1)

“agrees to arbitrate in the United States;” (2) “agrees its contract will be governed by United States

law; and” (3) “files a responsive pleading with a United States court without asserting sovereign

immunity.” Denegri, 1992 WL 91914, at *3; Odhiambo v. Republic of Kenya, 930 F. Supp. 2d 17,

24 (D.D.C. 2013), aff'd, 764 F.3d 31 (D.C. Cir. 2014) (describing these three situations as

“accepted example of implied waiver”); Frolova v. Union of Soviet Socialist Republics, 761 F.2d

370, 373 (7th Cir.1985) (“most courts have refused to find an implicit waiver of immunity to suit


                                                  9
        Case 1:22-cv-00058-CRC Document 23 Filed 08/19/22 Page 10 of 27




in American courts from a contract clause providing for arbitration in a country other than the

United States.”); Joseph v. Office of Consulate General of Nigeria, 830 F.2d 1018, 1022 (9th

Cir.1987) cert. denied, 108 S. Ct. 1077 (1988)); see also Argentine Republic v. Amerada Hess

Shipping Corp., 488 U.S. 428, 443 (1989) (holding that a foreign sovereign does not waive its

immunity by “signing an international agreement that contains no mention of a waiver of immunity

to suit in the United States courts or even the availability of a cause action in the United States.”);

Cargill Int'l S.A. v. M/T Pavel Dybenko, 991 F.2d 1012, 1017 (2d Cir. 1993) (quoting Zernicek v.

Petroleos Mexicanos, 614 F.Supp. 407, 411 (S.D.Tex.1985), aff'd, 826 F.2d 415 (5th

Cir.1987), cert. denied, 484 U.S. 1043, 108 S. Ct. 775, 98 L.Ed.2d 862 (1988)) (“most courts have

refused to find an implicit waiver of immunity to suit in American courts from a contract clause

providing for arbitration in a country other than the United States.”) (internal quotation marks

omitted).

       Here, the grounds for finding waiver of immunity are not present. Plaintiffs argue that

Defendants waived their immunity by i) agreeing to arbitrate under ICC Rules; and ii) participating

in an arbitration governed by the New York Convention in Zambia—a signatory of the New York

Convention. See ECF No. 1, ¶ 10. The argument is misplaced. First, as noted by the Supreme Court

and affirmed by several courts, an agreement to arbitrate outside the United States does not indicate

amenability to suit in the United States.

       Second, neither Zimbabwe nor the Chief Mining Commissioner was a party to the

arbitration agreement—the sole basis of the Arbitration. See ECF No. 1-2, ¶ 11, ECF No. 1-4, ¶ 9.

Hence, even under Plaintiffs’ theory, Defendants cannot be deemed to have waived their

immunity. See Cargill Int'l S.A. 991 F.2d at 1017 (holding that courts rarely find that a party’s

“waiver of immunity under a contract extends to third parties not privy to the contract.”).



                                                  10
        Case 1:22-cv-00058-CRC Document 23 Filed 08/19/22 Page 11 of 27




       Third, it is irrelevant that the Arbitration is governed under the New York Convention.

Plaintiffs contend that because the Arbitration is governed by the New York Convention

Zimbabwe could have “contemplated enforcement of any arbitral award in any of the other

signatory states.” See ECF No. 1, ¶10. The argument, again, is misguided. A foreign state does not

waive its immunity by “signing an international agreement that does not mention a waiver of

immunity to suit in United States courts or even the availability of a cause of action in the United

States.” Argentine Republic v. Amerada Hess Shipping Corp., 488 U.S. 428, 430, 109 S. Ct. 683,

686, 102 L. Ed. 2d 818 (1989). This Court has recognized that ratifying treaties similar to the New

York Convention does not constitute waiver of immunity under 1605(a)(1). See Turan Petroleum,

Inc. v. Ministry of Oil & Gas of Kazakhstan, 406 F. Supp. 3d 1, 12-13 (D.D.C. 2019), aff'd, No.

21-7023, 2022 WL 893011 (D.C. Cir. Mar. 25, 2022), and aff'd, No. 21-7023, 2022 WL 893011

(D.C. Cir. Mar. 25, 2022) (holding that Kazakhstan did not waive its immunity by ratifying the

Convention on Settlement of Investment Disputes). Plaintiffs have provided no reason to deviate

from this conclusion.

       In addition, the New York Convention governs enforcement of arbitration awards, not

enforcement of foreign judgments. And “[a]lthough an arbitral award and a court judgment

enforcing an award are ‘closely related,’ they are nonetheless ‘distinct’ from one another, and that

distinction has long been recognized.” Commissions Imp. Exp. S.A., 757 F.3d 321, 330 (D.C. Cir.

2014). Plaintiffs cannot have it both ways, invoking the New York Convention for a supposed

waiver but then denying that they are enforcing an arbitral award or that the Federal Arbitration

Act (the “FAA”) would apply. Stated simply, Plaintiffs have no basis to claim that either the

Commissioner or Zimbabwe waived their immunity because Zimbabwe ratified the New York

Convention.



                                                11
        Case 1:22-cv-00058-CRC Document 23 Filed 08/19/22 Page 12 of 27




       C.      This Court cannot exercise subject matter jurisdiction under 28 U.S.C.
               §1605(a)(6) because Plaintiffs are not seeking enforcement of an arbitration
               agreement or an arbitration award
       Pursuant to 28 U.S.C. §1605(a)(6), a foreign state is subject to the jurisdiction of U.S.

courts where “the action is brought, either to enforce an agreement made by the foreign state…or

to confirm an award made pursuant to such an agreement to arbitrate, if…the agreement or award

is governed by a treaty or other international agreement in force for the United States calling for

the recognition and enforcement of arbitral awards.” 28 U.S.C. §1605(a)(6) (emphasis added).

Adhering to the unambiguous text, courts have limited this exception to actions to enforce an

arbitration agreement or an award which stems from such agreement. See Hirsh v. State of Israel,

962 F. Supp. 377, 384–85 (S.D.N.Y.), aff'd, 133 F.3d 907 (2d Cir. 1997) (noting that “section

1605(a)(6) is facially inapplicable to the instant action, as Plaintiffs do not seek to enforce an

agreement to arbitrate, nor to enforce an outstanding arbitral award.”). Courts have also held that

this exception only applies “the parties that formed or made the agreement,” and not to “parties

that merely obtained liability under it.” TIG Ins. Co. v. Republic of Argentina, No. 18-MC-00129

(DLF), 2022 WL 1154749, at *7 (D.D.C. Apr. 18, 2022) (emphasis added); see also ibid (“because

Argentina did not make the contracts at issue here, the arbitration exception does not authorize suit

against Argentina.”); Gater Assets Ltd. v. AO Moldovagaz, 2 F.4th 42, 50 (2d Cir. 2021) (holding

that Section 1605(a)(6) does not extend to the Republic of Moldova because “the Republic was

not a party to the underlying arbitration agreement.”).

       The arbitration exception is simply inapplicable in the present case. Plaintiffs are not

seeking enforcement of an arbitration agreement or an arbitration award. See ECF No. 1, p. 9.

Also, neither Zimbabwe nor the Commissioner is a party to the arbitration agreement that resulted

in the Award. See id., ¶¶18-23. Accordingly, this Court cannot assume jurisdiction pursuant to

section 1605(a)(6).

                                                 12
        Case 1:22-cv-00058-CRC Document 23 Filed 08/19/22 Page 13 of 27




II.    Plaintiffs have failed to plead personal jurisdiction

       To withstand a motion to dismiss for lack of personal jurisdiction, “the plaintiff must make

prima facie showing of the pertinent jurisdictional facts.” Johnson v. BAE Sys., Inc., No. 11-CV-

2172 (RLW), 2012 WL 13055684, at *1 (D.D.C. Oct. 23, 2012) (internal quotation marks

omitted). In deciding on such motion, “the [c]ourt is not bound to treat all of the plaintiff’s

allegations as true, but instead may receive and weigh affidavits and other relevant matter to assist

in determining the jurisdictional facts.” Ibid (internal quotation marks omitted); see also Thompson

Hine LLP v. Smoking Everywhere Inc., 840 F. Supp. 2d 138, 141 (D.D.C. 2012), aff'd sub

nom. Thompson Hine, LLP v. Taieb, 734 F.3d 1187 (D.C. Cir. 2013) (same).

       A.      This Court cannot exercise personal jurisdiction on the basis of the FSIA

       A court can exercise personal jurisdiction over a foreign state if one of the immunity

exceptions provided in 28 U.S.C. §§ 1605–07 applies and the state is served pursuant to 28 U.S.C.

§ 1608. See TMR Energy Ltd. v. State Prop. Fund of Ukraine, 411 F.3d 296, 299 (D.C. Cir. 2005);

see also Practical Concepts, Inc. v. Republic of Bolivia, 811 F.2d 1543, 1548 n. 11 (D.C.Cir.1987)

(“under the FSIA, subject matter jurisdiction plus service of process equals personal jurisdiction”).

       Here, the Court lacks personal jurisdiction under the FSIA because neither of the FSIA

immunity exceptions applies. See Section I(B)(C).

       B.      The Court also lacks personal jurisdiction over the Commissioner because
               there is no proof that the Commissioner has minimum contacts within the
               Court’s forum and that he was properly served
       Under the Fourteenth Amendment’s Due Process Clause, a court can exercise personal

jurisdiction over a nonresident if: 1) the nonresident has minimum contacts with the forum state

and 2) extending jurisdiction over the nonresident is “consistent with the traditional notions of fair




                                                 13
        Case 1:22-cv-00058-CRC Document 23 Filed 08/19/22 Page 14 of 27




play and substantial justice.” See Kroger v. Legalbill.com LLC, No. CIV A 04-2189 ESH, 2005

WL 4908968, at *4 (D.D.C. Apr. 7, 2005).

        Here, the Commissioner is a foreign resident so this Court can only exercise personal

jurisdiction if he has minimum contacts in the District of Columbia. To surpass this hurdle,

Plaintiffs describe the Commissioner as an agency or instrumentality of Zimbabwe. See ECF No.

1, ¶¶ 11, 16. On its own, this is plainly insufficient. Agencies and instrumentalities “retain their

status as separate legal persons [under section 1603(b)(1)] and receive protection from the exercise

of personal jurisdiction under the Due Process Clause.” Gater Assets Ltd., 2 F.4th at 49 (internal

quotation marks omitted). Plaintiffs must do much more than a conclusory allegation that the

Commissioner is an agency or instrumentality.

        The Court also lacks jurisdiction because Plaintiffs have not served the Commissioner.

Fed. Civ. P. Rule 4(f) “governs service of process of an individual located outside of the United

States.” Angellino, 688 F.3d at 775. Unless there is an “internationally agreed means of service,”

Rule 4(f) instructs a plaintiff to serve a foreign defendant “(A) as prescribed by the foreign

country’s law for service in that country in an action in its courts of general jurisdiction; (B) as the

foreign authority directs in response to a letter rogatory or letter of request; or (C) unless prohibited

by the foreign country’s law, by: (i) delivering a copy of the summons and of the complaint to the

individual personally; or (ii) using any form of mail that the clerk addresses and sends to the

individual and that requires a signed receipt.” Fed. Civ. P. Rule 4(f)(2).

        Plaintiffs “served the Ministry of Mines,” an entity not a party to this case, on June 20,

2022. See ECF No. 20, p. 2. But they have not served the Commissioner pursuant to any of the

means of service under Rule 4. Hence, this Court cannot exercise personal jurisdiction over the

Commissioner.



                                                   14
        Case 1:22-cv-00058-CRC Document 23 Filed 08/19/22 Page 15 of 27




III.   Plaintiffs have failed to state a claim upon which relief can be granted

       “A Rule 12(b)(6) motion to dismiss tests the legal sufficiency of a plaintiff's complaint; it

does not require a court to ‘assess the truth of what is asserted or determine whether a plaintiff has

any evidence to back up what is in the complaint.” Herron v. Fannie Mae, 861 F.3d 160, 173 (D.C.

Cir. 2017) (quoting Browning v. Clinton, 292 F.3d 235, 242 (D.C. Cir. 2002). “But the Court need

not accept inferences drawn by plaintiff if those inferences are not supported by the facts set out

in the complaint, nor must the court accept legal conclusions cast as factual allegations.” Ibid. “To

survive a motion to dismiss, a complaint must have ‘facial plausibility,’ meaning it must ‘plead[ ]

factual content that allows the court to draw the reasonable inference that the defendant is liable

for the misconduct alleged.’ ” Ibid. (quoting Ashcroft v. Iqbal, 556 U.S. 662 (2009)). Moreover,

where there is a contradiction between the allegations in the complaint and the exhibits attached,

the exhibit generally controls. See Regan v. Spicer, HB, LLC, 134 F. Supp. 3d 21, 26 (D.D.C. 2015)

(citing 5A Charles Wright & Arthur Miller, Federal Practice and Procedure: Civil 3d § 1327,

450–451 (3d ed. 2004) (“It appears to be well settled that when a disparity exists between a written

instrument annexed to the pleadings and the allegations in the pleadings, the terms of the written

instrument will control, particularly when it is the instrument being relied upon by the party who

made it an exhibit.”).

       A.      Plaintiffs are unable to state a claim for enforcement of the Award under the
               DC Code, and their ability to enforce the Award under the New York
               Convention expired years ago

       While Plaintiffs entitle their Claim for Relief as one of enforcement of a foreign money

judgment, that does not change the underlying claim. Plaintiffs have invoked the New York

Convention as a basis for jurisdiction, but in order to circumvent the three-year statute of

limitations under the FAA they attempt to enforce the award as a foreign judgment. They cannot

have it both ways.
                                                 15
        Case 1:22-cv-00058-CRC Document 23 Filed 08/19/22 Page 16 of 27




       As explained above, the Complaint’s basis for jurisdiction is that “Defendants waived

sovereign immunity by agreeing to arbitrate under the ICC Rules” and “by agreeing to and

participating in arbitration governed by the New York Convention in Zambia.” ECF No. 1, p. 4.

There is no allegation of a special arrangement whereby Defendants would have otherwise

explicitly waived their immunity to these legal proceedings. See, e.g., Commissions Import Export

S.A., 757 F.3d at 324 (citing to evidence that Congo had an irrevocable waiver of immunity from

legal proceedings or execution allowing for enforcement of the foreign judgment). Yet, Plaintiffs’

claim is not through the New York Convention, but through a separate mechanism for enforcement

of foreign judgments under the D.C. Code. See ECF No. 1, p. 9. For many reasons, the two cannot

simultaneously apply to this case.

       As plead, the Complaint seeks jurisdiction over the Commissioner and Zimbabwe based

on a waiver derived from the New York Convention, but Plaintiffs’ claim then would necessarily

fall under the New York Convention and be subject to the requirements set forth in Chapter 2 of

the FAA that codify the Convention. See, e.g., Belize Soc. Dev. Ltd. v. Gov't of Belize, 668 F.3d

724, 727 (D.C. Cir. 2012) (finding that “when exercising its original jurisdiction pursuant to

section 203 of the FAA, a court shall confirm the award unless one of the grounds for refusal or

deferral of recognition or enforcement of the award specified in the said Convention”). If Plaintiffs

seek this Court’s jurisdiction under the New York Convention, then they get all of it, including

section 207, which requires a party has to seek confirmation of the award “within three years after

an arbitral award falling under the Convention is made.” 9 U.S.C. § 207. The Award is more than

three years old, and Plaintiffs would be unable to state a claim upon which relief can be granted.

       There are other compelling reasons this Court should reject Plaintiffs’ approach. The New

York Convention provides parties with grounds by which a court can refuse to enforce an award.



                                                 16
        Case 1:22-cv-00058-CRC Document 23 Filed 08/19/22 Page 17 of 27




See NY Convention, Article V. By circumventing the New York Convention, a plaintiff would

deprive a defendant from being able to raise any of the grounds enumerated in Article V of the

New York Convention and incorporated into the FAA. 9 U.S.C. § 207. Those grounds include a

number of challenges to the award and arbitration procedure, including if “[t]he award deals with

a difference not contemplated by or not falling within the terms of the submission to arbitration,

or it contains decisions on matters beyond the scope of the submission to arbitration;” issues related

to the appointment of the arbitrators, and disputes related to “[t]he composition of the arbitral

authority” or the arbitral procedure. These same explicit grounds are not available under the D.C.

Code allowing for enforcement of foreign judgments. See D.C. § 15–364. A foreign judgment can,

therefore, wrongly deprive a party from raising any ground under Article V of the Convention.

This is more so the case where the Award was never subject to scrutiny in another jurisdiction

under Article V of the New York Convention.

       Here, Plaintiffs are also attempting to circumvent the protections afforded by the New York

Convention by enforcing an ex parte order eight years after the Award and more than two years

after failing to serve the Commissioner and Zimbabwe. ECF No. 1-1, p. 4 (showing that the Award

was rendered on January 12, 2014). Not only is their claim time-barred under the provisions of the

FAA, but also Defendants have never before had the opportunity to invoke the grounds under the

New York Convention because they were never served in the Zambian proceedings. By attempting

to simply enforce the foreign judgment, Plaintiffs are depriving Zimbabwe and the Award

Defendants of challenging the Award under Article V.

       Plaintiffs are likely to invoke the holding in Commissions Import Export S.A., 757 F.3d at

324. But there are key differences that make that case inapplicable here. Not only did the State in

that case expressly waive immunity to the legal proceedings enforcing the award allowing that as



                                                 17
        Case 1:22-cv-00058-CRC Document 23 Filed 08/19/22 Page 18 of 27




a basis to pursue the foreign judgment enforcement, but that award had also been subjected to

scrutiny in at least three separate jurisdictions under the New York Convention, including

Belgium, Sweden, and the UK, giving Congo numerous opportunities to raise Article V challenges.

Commissions Import Export S.A, 757 F.3d at 325. In none of those three challenges was there a

recorded issue with service.

       In contrast, under the unique circumstances present here, Plaintiffs are relying on the New

York Convention for jurisdiction while skirting the mandatory requirements of the same treaty,

made applicable through the FAA. This is not like Commissions Import Export where an award

creditor demonstrated in multiple jurisdictions that the award is enforceable. Rather, there are

serious issues with the Award, including exceeding the scope of the parties’ agreements,

disregarding the arbitral procedure regarding the composition of the tribunal, and attempting to

ignore a court order to halt the arbitration. Instead of dealing with these issues or giving the

Commissioner a chance to avail himself of the treaty-based defenses to the Award, Plaintiffs

registered the Award on an ex parte basis, obtained the Order, and never served the Commissioner

or Zimbabwe.

       In any event, Plaintiffs cannot make out a claim under the DC Code. The Order is not final

and binding because, based on the Order’s text, the underlying Award cannot be enforced. The

Order provides that “the award shall not be enforced” until the expiration of a 30-day period after

service of the Judgment on ZMDC and the Commissioner. See ECF No. 1-5, p. 3. The 30-day

period to set aside the Judgment presumably only begins to run once service is made. Plaintiffs

fail to allege that the Defendants were properly served in accordance with the conditions set forth

in the Judgment, and Mr. Kalaluka confirms there was no service or any the preparatory steps to

attempt service. See Expert Opinion of Likando Kalaluka, QC, pp. 6-7, a true and correct copy



                                                18
        Case 1:22-cv-00058-CRC Document 23 Filed 08/19/22 Page 19 of 27




attached as Exhibit 3. This necessarily means that the 30-day period has not expired, making the

underlying Award unenforceable on its own terms.

        B.      Plaintiffs have failed to allege any facts supporting their various claims of an
                alter ego

        A plaintiff does not establish an alter ego through a conclusory allegation. Following the

dictates of the Supreme Court’s well-known Iqbal standard, a court must parse the complaint for

“sufficient factual matter” that if accepted as true, to “state a claim for relief that is plausible on its

face. Ashcroft, 556 U.S. at 678. Therefore, “threadbare recitals of elements of a cause of action,

supported by mere conclusory statements,” are insufficient to withstand a motion to dismiss. Id.

In other words, a court need not accept a plaintiff’s legal conclusions as true nor must the court

presume the veracity of legal conclusions that are couched as factual allegations. See Bell Atl.

Corp. v. Twombly, 550 U.S. 544, 555 (2007).

        To make a case of alter ego under the Iqbal standard requires more than merely conclusory

statements. Ashcroft, 556 U.S. at 678. There must be facts that tend to show that an alter ego

relationship exists. See, e.g., Foremost-McKesson, Inc. v. Islamic Republic of Iran, 905 F.2d 438,

446 (D.C. Cir. 1990). This is because there is “a baseline rule ‘that government instrumentalities

established as juridical entities distinct and independent from their sovereign should normally be

treated as such.” GSS Grp. Ltd. v. Nat'l Port Auth., 680 F.3d 805, 814 (D.C. Cir. 2012). This

“presumption of the juridical separateness of entities also applies to jurisdictional

issues.” Foremost-McKesson, Inc, 905 F.2d at 446.

        The presumption of juridical separateness can only “be overcome where the foreign state

so extensively controlled the instrumentality ‘that a relationship of principal and agent is created,’

or where . . . ‘adhering blindly to the corporate form would cause injustice.’” TMR Energy Ltd,

411 F.3d at 301. Moreover, this Court’s long-standing precedent places the burden squarely on

                                                    19
        Case 1:22-cv-00058-CRC Document 23 Filed 08/19/22 Page 20 of 27




plaintiff’s shoulders to assert facts sufficient to establish either an agency relationship or fraud or

injustice. Foremost-McKesson, 905 F.2d at 447; see also, Estate of Heiser v. Islamic Republic of

Iran, 885 F. Supp. 2d 429, 435 (D.D.C. 2012).

       In the absence of facts supporting a finding of an alter-ego relationship, a foreign judgment

may only be enforced in D.C. “between the parties.” D.C. Code § 15–363. This has been

interpreted by this Court to mean it “applies only as between the identical parties to the judgment

which transfer and enforcement is sought.” See Kaupthing ehf. v. Bricklayers & Trowel Trades

Int'l Pension Fund Liquidation Portfolio, 291 F. Supp. 3d 21, 30 (D.D.C. 2017)(finding that Act

may only be used to enforce a judgment “between the parties” actually named in it warranting the

dismissal of the complaint against the non-named parties); see also SerVaas Inc. v. Republic of

Iraq, 540 Fed.Appx. 38, 40–41 (2d Cir. 2013) (holding that a foreign judgment against the Ministry

of Industry of Iraq is enforceable against Iraq because the foreign court “viewe[d] the Ministry and

Iraq as indistinguishable” or “as the same entity”).

       Plaintiffs have failed to allege any facts to overcome the presumption of juridical

separateness. Zimbabwe is neither a party to the underlying Award 1 nor the Order, yet Plaintiffs

seek to obtain a judgment against Zimbabwe for the amounts awarded on a conclusory allegation

that Zimbabwe is the alter ego of the original defendants. There is no indication in the Order that

the Zambian court treated either ZMDC or the Commissioner as being “indistinguishable” or the

“same” as that of Zimbabwe. Id. The same observation can be made of the Award. See ECF 1-1.

       In the Complaint, Plaintiffs allege that the Republic of Zimbabwe is an alter ego of the

other two defendants in order to seek an entry of judgment against Zimbabwe for all the amounts


1
  The Tribunal ordered damages (other than costs) against ZMDC (not the Commissioner) and
there were no findings of wrongdoing from the Tribunal with regards to any alleged actions taken
by the Commissioner. ECF No. 1-1, ¶ 277.

                                                  20
        Case 1:22-cv-00058-CRC Document 23 Filed 08/19/22 Page 21 of 27




issued under the Award. The allegations attempt to assert an alter ego status merely by alleging

that the Defendants are an “agency or instrumentality of the Republic of Zimbabwe.” ECF No. 1,

pp. 3-5. There is no attempt to allege any facts to support an alter ego relationship. On this basis,

this Court should dismiss any claims requesting that judgment be entered against Zimbabwe.

       C.      Plaintiffs have failed to plead entitlement to post-judgment interest at the
               Zambian statutory rate
       The default rule of federal courts is that the post-judgment rate applicable is the one set

forth § 1961, unless the parties unambiguously express their intent to replace the federal rate for

post-judgment interest. See, e.g., OI European Group B.V. v. Bolivarian Republic of Venezuela,

Case No. 16-cv-1533, 2019 WL 2185040, * 6 (D.C.C. May 21, 2019); see, e.g., Tricon Energy

Ltd. v. Vinmar Int'l, Ltd., 718 F.3d 448, 456–60 (5th Cir. 2013) (observing that “the circuits have

unanimously agreed that ‘an arbitration panel may not establish a post-judgment interest rate

itself’” unless the parties have indicated their intent with clear, unambiguous and unequivocal

language”). Similarly, in cases involving the recognition of a foreign judgment, courts have

applied the federal statutory rate. Cont'l Transfer Technique Ltd. v. Fed. Gov't of Nigeria, 850 F.

Supp. 2d 277, 287 (D.D.C.) (applying the federal statutory post-judgment rate to a judgment issued

on the basis of recognition of a UK judgment that confirmed the award as final and enforceable).

Even in cases where the foreign judgment has indicated the post-judgment interest rate, courts

have proceeded to apply § 1961 for post-judgment once the judgment is converted to a federal

court judgment. See, e.g., Mezu v. Progress Bank of Nigeria, PLC, Case No. 12-cv-2865, 2013

WL 6531626, at *2 (D. Md. Dec. 11, 2013) (finding that the court was not beholden to apply the

21% post-judgment rate awarded by the foreign judgment in a diversity case). This approach is

also consistent with § 15-367 which establishes that once the foreign judgment is recognized it is

“[e]nforceable in the same manner and to the same extent as a judgment rendered in the District


                                                 21
        Case 1:22-cv-00058-CRC Document 23 Filed 08/19/22 Page 22 of 27




of Columbia.” D.C. Code § 15-367 (2). A court, therefore, should apply the federal statutory rate

once the foreign judgment or award becomes a judgment of a federal court.

        Plaintiffs are requesting that this Court displace the mandatory federal statutory rate in

favor of Zambia’s rate without providing any basis to do so. Since there is no basis alleged in the

Complaint, this Court should dismiss any request to apply the Zambian statutory rate for post-

judgment interest.

        D.      Plaintiffs have failed to plead entitlement to attorneys’ fees

        Absent a bad faith exception, the “American Rule” that parties generally bear their own

attorney’s fees applies. See Harford Mut. Ins. Co. v. New Ledroit Park Bldg. Co., LLC, 313 F.

Supp. 3d 40, 48 (D.D.C. 2018). Moreover, the general rule is that attorney’s fees must be brought

by motion, unless substantive law requires those fees to be proved at trial as an element of

damages. See ibid.

        Where a party claims attorney’s fees without a basis, a court may dismiss the claim. See

ibid (dismissing the defendant’s counterclaim for attorney’s fees because it failed to “state a valid

claim for relief”). Even if the claim for attorney’s fees is not a stand-alone claim, a court may strike

or dismiss the claim. See, e.g., Hill v. Performa Entertainment LLC, No. 09-CIV-02662, 2010 WL

446888, at *2 (W. D. Tenn. Feb. 1, 2010) (dismissing attorney’s fees stated in the prayer of relief

pursuant to a 12(b)(6) motion); see also, In re Paulsboro Derailment Cases, No. 13-3724, 2013

WL 5530058, at * 4-5 (D.N.J. Oct. 4, 2013) (dismissing attorney’s fees for failure to cite any

authority to support a claim for attorney’s fees in response to a motion to dismiss).

        In the Complaint, Plaintiffs seek an award of costs in addition to “reasonable attorneys’

fees.” ECF No. 1, p. 10. There is no basis provided for attorney’s fees. Neither the underlying

Award nor the judgment awarded attorney’s fees, and Claimants’ failure to identify a basis is fatal



                                                  22
        Case 1:22-cv-00058-CRC Document 23 Filed 08/19/22 Page 23 of 27




to their request based on this and other courts’ long-standing precedent on the issue. See ECF No.

1-1; ECF No. 1-5.

IV.    The Judgment is ineligible for recognition under the D.C. Uniform Foreign-Country
       Money Judgments Recognition Act

       A.      The Zambian High Court had no jurisdiction over the Commissioner or
               Zimbabwe

       Under the D.C. Code, a court “may not recognize a foreign country judgment if” the foreign

court lacked personal or subject matter jurisdiction over the defendant or if it “was rendered under

a judicial system that does not provide…procedures compatible with the requirements of due

process of law.” D.C. Code §§ 15-364(b). As noted by this Court, these are mandatory exceptions

to recognition. Commissions Imp. Exp., S.A., 118 F. Supp. 3d at 224.

       Before enforcing a foreign judgment, the enforcing court must determine if the foreign

court had jurisdiction. Kaupthing ehf., 291 F. Supp. 3d at 33 (“A court entering a default judgment

may assume that it has jurisdiction over the defendant[,] ... but that assumption does not preclude

the defendant from later contesting jurisdiction in the enforcing court.”). Under the D.C. Code, a

foreign court is said to have personal jurisdiction if the exercise of such jurisdiction “comports

with both the Constitution’s Due Process Clause and D.C.’s long-arm statute.” Id. at 31. The Due

Process Clause “protects a party from being subject to personal jurisdiction in a state court if it

does not have “minimum contacts” with the forum state.” Gater Assets Ltd., 2 F.4th at 54. When

it comes to personal jurisdiction over foreign states, courts undertake a different analysis. In such

instances, courts compare the procedures used before the foreign court and the grounds for

exercising jurisdiction over foreign states under the FSIA. See Commissions Imp. Exp., S.A, 118

F. Supp. 3d at 227.




                                                 23
        Case 1:22-cv-00058-CRC Document 23 Filed 08/19/22 Page 24 of 27




       A party moving to enforce under the DC Code, “bears the burden of making prima facia

showing that the mandatory grounds for nonrecognition—i.e., due process and personal

jurisdiction—do not exist.” Kaupthing ehf., 291 F. Supp. 3d at 33 (quoting Wimmer Canada, Inc.

v. Abele Tractor & Equipment Co., Inc., 299 A.D.2d 47, 750 N.Y.S.2d 331, 332 (2002). Plaintiffs

have made no such showing.

       Plaintiffs allege that the “High Court of Zambia had jurisdiction over the Judgment

Defendants and the subject-matter,” but fail to identify the basis of the jurisdiction. See Complaint,

para 44; see also ECF No. 1-5. For instance, Plaintiffs have not alleged nor proved that the

Commissioner had minimum contacts with Zambia. See ECF No. 1, ¶ 44. Nor is there any evidence

in the Order or other exhibits filed by Plaintiffs, indicating that the Commissioner was not served

either before or after the issuance of the Order. See ECF No. 1-5. And as stated by Mr. Kalaluka,

there could be no jurisdiction over the Commissioner since a Zambian court would likely find that

the Commissioner is immune from jurisdiction in Zambia. See Expert Opinion of Likando

Kalaluka, QC, ¶ 26, a true and correct copy attached as Exhibit 3. In addition, and as conceded by

Plaintiffs, the High Court did not exercise jurisdiction over Zimbabwe because it was not a party

to the case. See Section I (B)(C)

       B.      The Order is repugnant to the public policy of the District of Columbia and
               the United States

       The D.C. Code also permits a court to refuse recognition of a foreign judgment where the

“judgment or cause of action on which the judgment is based is repugnant to the public policy of

the District of Columbia or of the United States.” D.C. Code § 15-364. Even prior to the passing

of this Act, this Court and the D.C. Circuit have refused recognition of foreign judgments on public

policy grounds. See Matusevitch v. Telnikoff, 877 F. Supp. 1, 3 (D.D.C. 1995), aff'd sub nom.

Matusevitch v. Telnikoff, 159 F.3d 636 (D.C. Cir. 1998).

                                                 24
        Case 1:22-cv-00058-CRC Document 23 Filed 08/19/22 Page 25 of 27




       A cause of action or a judgment is repugnant to the public policy of this state and that of

the United States where it ignores “basic underpinnings of common contractual law.” See

Mulugeta v. Ademachew, 407 F. Supp. 3d 569, 586 (E.D. Va. 2019); see also Corporacion

Mexicana De Mantenimiento Integral, S. De R.L. De C.V. v. Pemex-Exploracion Y Produccion,

832 F.3d 92, 107-108 (2d Cir. 2016) (noting that the “high hurdle of the public policy exception

is surmounted by vindication of contractual undertakings” and refusing to recognize to a Mexican

judgment that set aside an arbitration award in disregard of the parties’ arbitration agreement).

       Here, the Tribunal had no jurisdiction over the Commissioner because it was not a party to

the MOUs—the sole basis of the Tribunal’s jurisdiction. As Plaintiffs rightly pointed out, the

MOUs only instruct the contracting parties, i.e., Plaintiffs and ZMDC, to arbitrate “disputes

arising…out of or in relation to the” MOUs. See ECF No.1, ¶ 24 (emphasis added). By nonetheless

registering the Award against the Commissioner, the Zambian High Court ignored the parties’

arbitration agreement. Enforcing such judgment will be repugnant to the public policy of the

District of Columbia and the United States, hence, this Court should refuse recognition of the

Judgment.

                                           CONCLUSION

       For the foregoing reasons, the Commissioner and Zimbabwe requests that the Court grant

the Motion to Dismiss and grant whatever additional relief it considers just and proper.

                                                             Respectfully submitted,

                                                             /s/ Quinn Smith
                                                             GST LLP
                                                             Quinn Smith
                                                             DCD Bar No. FL0027
                                                             quinn.smith@gstllp.com
                                                             Katherine Sanoja
                                                             DC Bar No. 1019983
                                                             katherine.sanoja@gstllp.com

                                                25
Case 1:22-cv-00058-CRC Document 23 Filed 08/19/22 Page 26 of 27




                                        1111 Brickell Avenue
                                        Suite 2715
                                        Tel. (305) 856-7723

                                        Bethel Kassa
                                        Pro hac vice pending
                                        bethel.kassa@gstllp.com
                                        2600 Virginia Avenue, Suite 205
                                        Washington D.C., 20037




                              26
        Case 1:22-cv-00058-CRC Document 23 Filed 08/19/22 Page 27 of 27




                                 CERTIFICATE OF SERVICE

       I hereby certify that on August 19, 2022, I electronically filed this document with the Clerk

of the Court of the U.S. District Court of the District of Columbia by using the CM/ECF system,

which will automatically generate and serve notices of this filing to all counsel off record. I further

certify that I am unaware of any parties who will not receive such notice.



                                               By:   /s/ Quinn Smith
                                               Quinn Smith




                                                  27
